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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  PINE BLUFF DIVISION

ALVIN BERNAL JACKSON                           *
                                               *
                      Petitioner               *
                                               *
VS.                                            *                        NO:5:03CV00405 SWW
                                               *
LARRY NORRIS                                   *
                                               *
                      Respondent               *

                                            ORDER

       The above styled matter has been scheduled for an evidentiary hearing to begin at 9:30 a.m.

on FRIDAY, OCTOBER 28, 2011, before United States District Judge Susan Webber Wright, in

Courtroom #389, Richard Sheppard Arnold United States Courthouse, 600 West Capitol Avenue,

Little Rock, Arkansas.

       IT IS THEREFORE ORDERED that the Central Office of the Arkansas Department of

correction is directed to ensure the attendance of petitioner ALVIN BERNAL JACKSON, ADC

#000941, who is presently confined in the Arkansas Department of Correction, Varner Supermax

Unit, at the evidentiary hearing scheduled to commence at 9:30 a.m. on Friday, October 28, 2011,

in Courtroom #389, Richard Sheppard Arnold United States Courthouse, 600 West Capitol Avenue,

Little Rock, Arkansas.

       IT IS SO ORDERED this 21st day of October, 2011.



                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE
